Case 1:23-cv-00108-LMB-JFA Document 841-4 Filed 06/14/24 Page 1 of 5 PageID# 20187




                                   PX041
          (Google’s Proposed Redactions)
Case 1:23-cv-00108-LMB-JFA Document 841-4 Filed 06/14/24 Page 2 of 5 PageID# 20188
Case 1:23-cv-00108-LMB-JFA Document 841-4 Filed 06/14/24 Page 3 of 5 PageID# 20189
Case 1:23-cv-00108-LMB-JFA Document 841-4 Filed 06/14/24 Page 4 of 5 PageID# 20190
Case 1:23-cv-00108-LMB-JFA Document 841-4 Filed 06/14/24 Page 5 of 5 PageID# 20191
